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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )
    v.                               )    CRIMINAL ACTION NO.
                                     )      2:12cr104-MHT
STEVEN P. MOCK                       )          (WO)

                         OPINION AND ORDER

    A jury found defendant Steven P. Mock guilty of one

count     of    conspiracy      to       commit   wire     fraud         and

financial-institution fraud, 18 U.S.C. § 1349, six counts

of wire fraud, 18 U.S.C. § 1343, and three counts of

financial-institution        fraud,      18   U.S.C.   §   1344.         The

question of Mock’s competency was raised at sentencing.

The case is now before the court on two motions: (i) the

government’s motion for its competency evaluation to be

performed by the Federal Bureau of Prisons (“BOP”) on a

custodial      basis   and    (ii)       Mock’s   motion     for    that

evaluation to be performed on an outpatient basis.                       For

the reasons that follow, the government’s motion will be

denied, albeit with leave to renew, and Mock’s motion

granted.
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                                   I.

    Mock was indicted, along with co-defendants Paul

Hulse, Sr., and Frank J. Teers, in June 2012.                    In the

indictment and at trial, the government alleged that

Mock, Hulse, and Teers conspired to, and actually did,

defraud     financial     institutions       out    of    millions       of

dollars.     Specifically, Hulse represented himself to be

a wealthy businessman seeking loans and offering ample

collateral in the form of bonds, when in reality he owned

no bonds.     Teers, a stockbroker, provided documentation

and managed the buying and selling of bonds to facilitate

the scheme.      Mock is an attorney.              As alleged by the

government,     Mock    contributed       to    the      conspiracy      by

vouching for Hulse and confirming his supposed assets.

    Hulse pleaded guilty to a related charge.                  Mock and

Teers went to trial in May and June 2013.                 The case was

heavily litigated, and Mock in particular filed numerous

pretrial motions.       Mock did not testify before the jury.

However, he did testify in a November 2012 pretrial



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hearing before the magistrate judge.                  At no time before

or during trial did anyone raise the issue of Mock’s

competency.         The jury returned a guilty verdict against

Mock and Teers on all counts.

       The   case    then    proceeded       to   sentencing.     At     the

sentencing hearing held from November 25 to 27, 2013,

Mock    presented      mitigation          evidence   in   the   form    of

testimony from Kristine L. Lokken, Ph.D.                   Dr. Lokken, a

neuropsychologist, testified that she had evaluated Mock

on April 25 and 26, 2013, and had later diagnosed him

with major neurocognitive disorder.                   She found that he

suffered from vascular dementia, probably as a result of

a stroke or strokes.               Among other deficits, she noted

significant         impairment        in     ‘executive      functions,’

including mental flexibility, planning, problem solving,

and organization.           She testified that a person with such

deficits       would        have     difficulty        processing        and

understanding complex information.




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       Near the end of Dr. Lokken’s testimony, the court,

sua     sponte,     raised    with    her     the   question     of   Mock’s

competency.        She responded that competency had not been

the focus of her evaluation and, therefore, that she

could not render a definitive opinion on that issue.

However, she did state that, based on her evaluation, she

had concerns about Mock’s competency at the time of trial

and at the time of sentencing.

       The    court     adjourned       Mock’s      sentencing        pending

resolution of the issue of competency.                  Defense counsel

arranged for Mock to be evaluated again, this time by

Adriana      L.    Flores,     Ph.D.,     a    forensic    and    clinical

psychologist.         Dr. Flores evaluated Mock during a seven-

hour session on January 6, 2014, and concurred in Dr.

Lokken’s diagnosis of major neurocognitive disorder. She

found that, because of Mock’s significantly impaired

executive functioning, he lacked the ability to assist

his attorneys and therefore was not competent at the time

of his trial or thereafter.



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       The parties agreed that the government would have the

opportunity to conduct its own evaluation of Mock.                  Mock

filed a motion asking that the government’s evaluation be

conducted out of custody and under outpatient conditions.

The government filed its own motion, seeking a custodial

evaluation at a BOP medical facility.                 The court held

oral    arguments     on   the    question      of   whether      Mock’s

evaluation would be custodial or not, and that issue is

now ready for resolution.



                                  II.

       18 U.S.C. § 4241 provides for competency evaluations

at any time prior to sentencing.               For the purposes of

such an evaluation, “the court may commit the person to

be examined for a reasonable period, but not to exceed

thirty days.”     18 U.S.C. § 4247(b) (emphasis added).                  The

parties agree that by statute the court has the authority

to commit Mock for an in-custody evaluation but is not




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required to do so. In other words, it is a matter of discretion.

       However, Mock argues that the court’s discretion is

not     unfettered       and   that        in    fact    the    prospect     of

unnecessary imprisonment triggers heightened substantive

due-process scrutiny.           He cites four cases: United States

v. Neal, 679 F.3d 737, 741 (8th Cir. 2012); United States

v. Deters, 143 F.3d 577, 582-84 (10th Cir. 1998); In re

Newchurch, 807 F.2d 404, 409 (5th Cir. 1986); United

States v. Song, 530 Fed. Appx. 255 (4th Cir. 2013).

       In Newchurch, the Fifth Circuit Court of Appeals held

that      the    district      court       did    not    have     unfettered

discretion        to   order     a    custodial         evaluation   for      a

defendant who pleaded not guilty by reason of insanity;

rather, it held, the government must offer not only a

reason for a custodial evaluation but also evidence.                        The

appellate court reasoned:              “In making its determination,

the district court should consider the purpose of the

examination, the availability and competency of experts

in the vicinity of the court, and the fact that the



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question of competency to stand trial is for the court,

while the issue of insanity at the time of the offense is

for the trier of fact, to be determined on the same basis

as its evaluation of all other evidence.” 807 F.2d at

411.      More to the point, the appellate court said: “The

district      court    should     not       undertake      to   evaluate    the

quality      of   outpatient      examination         as    opposed    to   an

examination conducted in the custody of the Attorney

General solely on its personal past experience, for that

experience is neither a matter of record, a subject for

cross examination, nor a question susceptible to review

on appeal.        The expense of local examination compared to

the cost of commitment to a government institution is not

a controlling consideration. Having conducted such an

evidentiary        hearing,     the     district      court     should     make

findings of fact concerning the need for commitment to

the custody of the Attorney General.”                       Id. at 411-12.

The      appellate      court     vacated       the     district      court’s




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commitment order and remanded the case for an evidentiary

hearing.

    The same question regarding an insanity defense was

raised in Deters.      143 F.3d at 582-84.         The Tenth Circuit

Court   of   Appeals     agreed    with    the    Newchurch     court’s

analysis, but decided that the government’s interests in

Deters in ensuring the defendant’s appearance at trial

and in a speedy trial were weighty enough to justify

custody in light of concerns in that case about the

defendant’s risk of flight and delay.

    In the unpublished Song, the Fourth Circuit Court of

Appeals confronted this question, again in the context of

the insanity defense.         530 Fed. Appx. 255.          It followed

the other cases, likewise finding that an evidentiary

hearing was required.

    While Newchurch, Deters, and Song all addressed the

court’s discretion to commit a defendant who had asserted

the insanity defense, in Neal the Eighth Circuit Court of

Appeals addressed that same question with regard to a



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competency evaluation before trial.                    679 F.3d at 740.

The appellate court agreed with Newchurch and Deters that

the discretion was not unfettered, but was subject to

due-process constraints. The appellate court found that,

as    in   Newchurch,       “the     government      [had]      offered    no

evidence      to    establish        the     presence     of    compelling

governmental        interests        which     would     require     Neal’s

competency      evaluation      to    be     conducted    pursuant    to     a

custodial commitment at a BOP facility, rather than on an

outpatient basis.”          679 F.3d at 741.             The court noted

that, as in Newchurch, there had been no evidentiary

hearing and no factual findings on the subject.

      One difference between these cases and the instant

one is that Mock has been tried and convicted, while in

these      other    cases    the     issue     was     raised    pretrial.

However, if Mock was incompetent at the time of his

trial, then that trial violated due process.                     See Watts

v. Singletary, 87 F.3d 1282, 1286 (11th Cir. 1996).                        The




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fact of his conviction would seem, then, not to answer

the concern about his liberty interests.

      The court will follow the persuasive and consistent

reasoning of these cases.           The government therefore must

offer “evidence to establish the presence of compelling

governmental       interests     which      would   require     [Mock’s]

competency      evaluation     to     be   conducted    pursuant     to     a

custodial commitment at a BOP facility, rather than on an

outpatient basis.”         Neal, 679 F.3d at 741.

      The government has indicated a strong preference for

a   custodial      evaluation,      arguing     principally       that      a

custodial      evaluation      will    offer    the    opportunity         to

observe Mock over an extended period of time.                  The court

is inclined to agree that, in light of the unusual nature

of Mock’s purported incompetence (including the fact that

the three attorneys representing him did not, at the time

of trial and even during sentencing until the court

raised its concerns, view anything about him as raising

concerns about his competency), continuous observation



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might better help the court understand his level of

functioning    and   his    deficits.       However,     neither     the

government’s arguments nor the court’s inclinations are

evidence.     In light of the liberty interests at stake,

the court cannot order Mock subjected to a custodial

evaluation without evidence of a compelling governmental

interest.     Neal, 679 F.3d at 741.             In this case, the

government has offered none.

    The court recognizes that § 4241 mandates that a

defendant who has been found incompetent must then be

committed to the custody of the Attorney General for a

determination of whether he can be made competent.                       18

U.S.C. § 4241(d).      In some cases, it could be argued that

the fact of this future mandatory commitment might lessen

the weight of the liberty interests at stake.               After all,

the question might collapse into the issue of not whether

to commit the defendant, but when: should the defendant

be found incompetent, then the court would commit him for

a custodial determination of whether he can be made



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competent; and should he be found competent, then the

court    would     sentence     him     based    on    his    conviction.

However, here the court is confronted with a third,

reasonable option because of these circumstances: Mock’s

advanced     age     (70),     the    possibly        degenerative          and

incurable nature of his condition, and the non-violent

nature     of      the     alleged      offenses.            Given     these

circumstances,       the     court    cannot    say    with    reasonable

certainty that, if the court were to find that Mock is

incompetent (and was so at the time of trial), the

government would want to spend its resources pursuing

efforts to see if he can be made competent and, if so,

then pursuing his retrial.                Thus, because there is a

reasonable      possibility      that     a   finding     that    Mock       is

incompetent could mean the end of the case, the court

cannot order Mock committed without evidence.

    Therefore,       the     government’s       evaluation       is    to    be

performed on a non-custodial, outpatient basis. However,

because,    as     stated,    the     court     is    concerned       that    a



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continuous, in-custody, observation might better help the

court in light of the unusual nature of Mock’s purported

incompetence, the court will direct the government’s

outpatient evaluator to address, in addition to Mock’s

competency now and at trial, to what extent subsequent

custodial    observation       might     be     beneficial     to     the

determination of Mock’s competence, and why.



                                 ***



    Accordingly, it is ORDERED as follows:

    (1)     Defendant    Steven     P.    Mock’s     motion     for      an

outpatient governmental evaluation (doc. no. 430) is

granted.

    (2)     The   government’s         motion    for    a     custodial

evaluation (doc. no. 444) is denied with leave to renew.

    (3)     The   government’s         competency      evaluation        of

defendant Mock shall be performed on an outpatient, non-

custodial basis.



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    (4)    The     government’s       evaluator       shall     address

defendant Mock’s competency: (a) to stand trial in May

and June 2013; and (b) to be sentenced currently.

    (5) The government’s evaluator shall also address to

what extent subsequent custodial observation might be

beneficial    to   the   determination       of   defendant      Mock’s

competence, and why.

    (6) The government’s evaluation shall be filed within

35 days from the date of this order.

    DONE, this the 15th day of April, 2014.


                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
